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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
 UNITED STATES OF AMERICA            :
                                     :
       v.                            : CRIMINAL NO. 21-CR-178 (APM)
                                    :
 JEFFREY BROWN,                      :
       Defendant.                    :
____________________________________:

                                             ORDER

       This matter having come before the Court pursuant to a Motion to Vacate, it is therefore

       ORDERED that, after taking into account the public interest in the prompt disposition of

criminal cases, good cause exists to vacate the currently scheduled pre-trial and trial dates and set

a status date on January __, 2022; it is

       FURTHER ORDERED that the period from December 10, 2021, to January ___, 2022, be

excluded from computing the date for speedy trial in this matter.

                                              It Is So Ordered.

                                              ______________________________________
                                              Amit P. Mehta
                                              United States District Court Judge


Entered: ___________________________
